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Jon Scott Vrieling WITHOUT REPRESENTATION OCT 02 2012
Patricia Dionn Vrieling WITHOUT REPRESENTATION __. JAMES A. LARSEN, Clark

2437 Westshore Drive
Moses Lake, Washington [98837]

UNITED STATES DISTRICT COURT,
EASTERN DISTRICT OF WASHINGTON

UNITED STATES,
VS.

J. SCOTT VRIELING

P. DIONN VRIELING

Defendant

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FILED IN THE
US. DISTRICT COURT
Eastern District of Washington

 

"Spokane, Waatingion Deputy

Case No.: CR-11-57-RHW

Motion for Discovery as Retraxit with
Status and Disclosure Affidavit of
Material Facts in Support

EXHIBIT

 

Dated this October 1, 2012

 

 

MOTION FOR DISCOVERY AS RETRAXIT WITH AFFIDAVIT IN SUPPORT

 

 

 

EXHIBIT L Page 1 of 14

 

 
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MOTION FOR DISCOVERY

This motion for discovery will be used as proof of justification of

innocence in the trial of J. Scott and Patricia Dionn Vrieling.

BILL OF PARTICULARS

 

Due to our lack of assistance of counsel, we were not aware of the existence or
necessity of a ‘bill of particulars’. We have become aware of the importance
of such bill of particulars and require the Prosecution to provide a bill of

particulars for the record.

We require that the bill of particulars clearly identify the venue(s) of action. The
nature of the action. The source of law. The nature of the liability. A complete
description of the penalties sought. The lawful intention of such penalties. If there
is intention to bring civil penalties, those must be identified. If there is intention
for detention, such shall be clearly laid out. We must know the nature of the party
bringing the action — the principal, and its agents. Without such proof on the
record, we cannot verify assumptions of jurisdiction. Further specific clarifications}

& requests for discovery follow.

We are very concerned that the grand jury was not made aware of ANY of these

items. We require assistance of counsel.

 

 

MOTION FOR DISCOVERY AS RETRAXIT WITH AFFIDAVIT IN SUPPORT

 

 

 

EXHIBIT L Page 2 of 14

 
| || GRAND JURY

 

2 Sec. 1865. Qualifications for jury service
3 . ps wo - oe
(a) The chief judge of the district court, or such other district
4 court judge as the plan may provide, on his initiative or upon
5 recommendation of the clerk or jury commission, or the clerk under

supervision of the court if the court's jury selection plan so

 

6 authorizes, shall determine solely on the basis of information provided
7 on the juror qualification form and other competent evidence whether a
8 person is unqualified for, or exempt, or to be excused from jury
service. The clerk shall enter such determination in the space provided
9 on the juror qualification form and in any alphabetical list of names
10 drawn from the master jury wheel. If a person did not appear in response
i to a summons, such fact shall be noted on said list.
(b) In making such determination the chief judge of the district
12 court, or such other district court judge as the plan may provide, or
13 the clerk if the court's jury selection plan so provides, shall deem any
person qualified to serve on grand and petit juries in the district
4 court unless he--
15 (1) is not a citizen of the United States eighteen years old who
16 has resided for a period of one year within the judicial district;
7 Sections 81 - 131 of this chapter show the territorial

ig composition of districts and divisions by counties as of

19 January 1, 1945. Title 28 USC 1865.

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MOTION FOR DISCOVERY AS RETRAXIT WITH AFFIDAVIT IN SUPPORT

 

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EXHIBIT L Page 3 of 14

 

 

 

 

 
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We do not believe that we reside in such judicial district, or that we
committed crime in such district, or that the ‘grand jury’ that
allegedly indicted us was composed of persons from such judicial
district, and require the court to provide proof on record for each of

these three requirements.

Prove: That there is such judicial district within the state of Washington.
Prove: That we live in such district judicial district.
Prove: That we are United States citizens.

Prove: That crime was committed in such judicial district.

Prove: That the ‘grand jury’ was composed of citizens at least 18

years of age from such district who have resided there for over a

year.

We do not know ANYONE who actually resides on federal territory, and are thus
concerned that the ‘grand jury’ that was seated in our alleged ‘indictment’ was

NOT a lawfully qualified jury. Finding U-S. citizens to fill the jury would have
been an unlikely and difficult task, especially since such citizens must have resided
within the territory for a year prior to their service. A year is a long time to live in
a campground or post office. Was our jury solely filled by military folks living on
the base? Is there another United States territory in the Eastern District of

Washington where residence qualifies citizens for the jury?

We believe the law is intentionally biased towards granting a jury of ‘United States

Citizens’ rather than our peers. We believe that such travesty can only occur under

 

MOTION FOR DISCOVERY AS RETRAXIT WITH AFFIDAVIT IN SUPPORT|

 

 

 

EXHIBIT L Page 4 of 14

 

 
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color-of-law, which is not God’s law. God’s law says that the agency should have
come to us with its grievance. We should have had opportunity for communication]
and remediation prior to initiation of conflict. Then, and only then, would we be
tried by a jury of OUR peers. Twelve upright men with property who are wise,

spiritually and juristically. They would be able to see the truth. The truth would

set us free. That is God’s intention for our land, and for our lives.

The lack of godly and lawful juries is further proof of war time emergency power
usurpation of authority and tyranny imposed upon the freeborn inhabitants of this
land of the United States of America.

We believe that there was not a true “Grand Jury” called in our
case, and will require discovery to prove the nature of the Grand

jury that allegedly brought indictment against us.

While we do not have assistance of counsel to assist in this matter, we believe it is |
the court’s duty to verify the composition of the grand jury which we were not
invited to meet, and our sixth amendment guaranteed assistance of counsel was not

allowed to attend.

I hereby attest and affirm under penalty of perjury of the United States that the
Grand Jury members allowed to sit in the indictment of Jon Scott Vrieling and
Patricia Dionn Vrieling were citizens of the United States who are English
speaking, and over the age of 18 and have been citizens of the district for over a

year, as required by positive law, 28 USC 1865.

yes no Signed

 

 

 

MOTION FOR DISCOVERY AS RETRAXIT WITH AFFIDAVIT IN SUPPORT|

 

 

 

EXHIBIT L Page 5 of 14

 

 
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JURISDICTIONAL ISSUES:

The prosecution will be required to show proof of jurisdiction in each of the

following seven areas:

THIS COURT MUST TAKE NOTICE OF THE ORGANIC LAWS AS THE LAW
OF THE LAND, as outlined in ER103(2) OFFER OF PROOF NO 11, EXHIBIT #J

Provide answers/discovery in proof of the following:

Are the charges, all counts of indictment, based on laws of the state of the non

corporate state of Washington?

yes no Signed

 

Proof:

Are the charges, all counts of indictment, based on laws of the corporate State of

Washington?

yes no Signed

 

Proof:

Are the charges, all counts of indictment, based on the Articles of Confederation,
and applicable to the one people, the freeborn inhabitants of the United States of

America?

yes no Signed

 

Proof:

 

MOTION FOR DISCOVERY AS RETRAXIT WITH AFFIDAVIT IN SUPPORT|

 

 

 

EXHIBIT L Page 6 of 14

 

 

 
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Are the charges, all counts of indictment, based on the Constitution, with limited

application to the territories of the United States, and citizens of the United States

 

 

yes no Signed

Proof:

Are the charges, all counts of the indictment, based on foreign law?
yes no Signed

Proof:

ACCUSED MUST BE PROPERLY IDENTIFIED as outlined in ER103(2) offer
of proof Number 12, EXHIBIT K

Are the accused defendants both citizens of the United States?

yes no Signed

 

Proof:

Are either of the accused defendants agents, officers, employees, contractors,
trustees, or ANY manner of entity dependent on the United States for the

determination of its character, duty, or rights?

yes no Signed

 

Proof:

Are the accused defined as persons in relationship to Title 26 Subtitle A Income

taxes?

yes no Signed

 

 

 

MOTION FOR DISCOVERY AS RETRAXIT WITH AFFIDAVIT IN SUPPORT|

 

 

 

EXHIBIT L Page 7 of 14

 
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Proof:

Are the accused defined as individuals in relationship to Title 26 Subtitle A Income

taxes?

yes no Signed

 

Proof:

Are the accused defined as taxpayers in re relationship to Title 26 Subtitle A

Income taxes?

yes no Signed

 

Proof:

STATUTE MUST BE IDENTIFED, as outlined in ER103(2) OFFER OF PROOF
NO. 13, EXHIBIT L

What statute makes us such persons, individuals, or taxpayers according to Title 26

Subtitle A Income tax ?

What criminal liabilty statute are we charged with?

yes no Signed

 

Proof:
Is that a criminal liability statute according to the Internal Revenue Manual?

yes no Signed

 

Proof:

 

MOTION FOR DISCOVERY AS RETRAXIT WITH AFFIDAVIT IN SUPPORT

 

 

 

EXHIBIT L Page 8 of 14

 

 
1 |{1s that a criminal liability statute according to the Internal Revenue Code

 

2 yes no Signed
3 || Proof:
4 ||1s that a criminal liability statute according to the United States Code

5 yes no Signed

 

6 || Proof:
7 ||1s that a criminal liability statute according to the Code of Federal Regulation?

8 yes _no Signed

 

 

9 Proof:

10 || Have the statute/s that we are allegedly liable for considered Positive Law?

 

 

 

 

 

 

 

 

il yes no Signed
12 || Proof:
13 || Ate the statute/s that we are allegedly liable for applicable to inhabitants of the
14 United States of America?
yes no Signed
15 "
Proof:
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7 Are the statute/s that we are allegedly liable for applicable to inhabitants of the
United States?
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yes no Signed
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MOTION FOR DISCOVERY AS RETRAXIT WITH AFFIDAVIT IN SUPPORT
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EXHIBIT L Page 9 of 14

 

 

 

 
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Have the following been made a part of discovery to date? If no, please provide:

1. The constitutional oath of office, as required by 5 U.S.C. § 3331

 

 

 

 

 

 

 

 

 

2. The civil commission as agent or officer of Government of the United States
3. Either your personal surety bond or the surety bond of the principal officer responsible
for your appointment.
These documents should all be filed as public records. See 5 U.S.C. § 2906
for requirements concerning filing oaths of office.
FOR:
a. Mr. George Jacobs;
yes no Signed
Proof:
b. Mr. Stephen Maciboba;
yes no Signed
Proof:
c. Ms Virgina Keys.
yes no Signed
Proof:
d. Mr. Eric Lee
yes no Signed
Proof:
MOTION FOR DISCOVERY AS RETRAXIT WITH AFFIDAVIT IN SUPPORT

 

 

 

EXHIBIT L Page 10 of 14

 
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If any of the above are lacking, we would also require the same three items from
Judge Robert H. Whaley.

yes no Signed

 

Proof

We require that this information be a part of the record in the case entitled above.

In the event that the court and the prosecution are unable to provide the required
documentation, this Motion will serve as common law retraxit as justification for
the finalization of the current action and a common law protection against further
action by the plaintiff in regard to the tax years 1998-2012. We are justified in the
expansion of the dates in that lack of any ONE of the above items would preclude

action in the future for actions already resolved as of this 2" day of October, 2012.

If the agency/agencies/departments/officers/agents intend to continue this current

action all items must be provided, none may be omitted.

Any lack of required discovery will be assumed to be due to lack of jurisdiction

over the subject, the geographic territory, and the persons.

We submit the attached Affidavit of Facts as proof of our understanding of the
answers to these questions, as well as for resolution of the alleged requirement to
submit Information Returns for the tax years 1998-2012. Such submission does
not imply that we are taxpayers or subjects of the United States. We require lawful
notice and lawful demand from lawful authority as indication of any future

relationship with the United States.

 

MOTION FOR DISCOVERY AS RETRAXIT WITH AFFIDAVIT IN SUPPORT

 

 

 

EXHIBIT L Page 11 of 14

 
 

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We submit this motion for discovery as AS AN ER 103 (2) OFFER OF PROOF of
retraxit, NO. , Exhibit in the above entitled manner.

WE REQUIRE THE COURT TO TAKE NOTICE OF OFFER OF PROOF:

 

That we are submitting as ER 201 Mandatory Judicial Notice submitted as
CR 8 (d) undisputed affidavit as an ER 902 self-authenticating document with
CR 56(e) & ER personal knowledge and sworn to under the penalties of
perjury, as: EXHIBIT #L AS ER 103(2) OFFER OF PROOF NO 13:

MOTION FOR DISCOVERY WITH RETRAXIT AS PROOF

Come now before this court, the declarants Jon Scott and Patricia Dionn

Vrieling -To make declaration of Truth with Offer of Proof in the matter of

as the 5 U.S.C. 556 (e) exclusive record for decision in accordance with section
5 U.S.C. exclusive record for decision in accordance with section 5 U.S.C. 557,

23 CFR 6343-1(b)(3), 26 U.S.C. 7804 (b).

UNITED STATES, operating as a Territorial Government of the United States of
America, bringing against J. SCOTT AND PATRICIA DIONN VRIELING
charges of 26USC7203 in a cause of action showing case number CR-11-57-RHW
in the United States District Court, Eastern District of Washington, United States
District Judge, ROBERT WHALEY presiding, United States Assistant District
Attorney, GEORGE C. JACOBS, III representing the United States.

 

MOTION FOR DISCOVERY AS RETRAXIT WITH AFFIDAVIT IN SUPPORT

 

 

 

EXHIBIT L Page 12 of 14

 
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PENALTY OF PERJURY:

O God of the Angel Armies, no one fools you. You see through everyone,
everything. I want to see You pay them back for what they’ve done. I rest my
case with You. Sing to God! All praise to God! He saves the weak from the

grip of the wicked.” Jeremiah 20:12

 

We, Jon Scott Vrieling and Patricia Dionn Vrieling, freeborn inhabitants of the
land in Washington, living freely together as man and wife under the divine laws
of God and the Organic Laws of the land, declare under penalty of perjury under
the laws of the United States of America that the foregoing is a TRUE and correct

statement of our beliefs.

Executed on October 1, 2011

 

Patricia Dionn Vrieling

 

MOTION FOR DISCOVERY AS RETRAXIT WITH AFFIDAVIT IN SUPPORT,

 

 

 

EXHIBIT L Page 13 of 14

 
 

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Notary Public

On the date set out below, the foregoing Motion for Discovery with Affidavit of
Material Facts was sworn and signed in my presence by Patricia Vrieling, known

to me.
My commission expires ort g /ete rs
7 7

BDLetl tere
Wan CAC — Batt”

 

SEAL:

 
     
 

Notary Public
‘State of Washington
GILES J. ISAACSON

My Appointment Expires Aug 19, 2013”

     

 

MOTION FOR DISCOVERY AS RETRAXIT WITH AFFIDAVIT IN SUPPORT

 

 

 

EXHIBIT L Page 14 of 14

 

 
